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8 SPORTS RESEARCH CORPORATION
9                           UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11 SPORTS RESEARCH CORPORATION, Case No.:
     a California Corporation,
12                                            COMPLAINT FOR:
13                      Plaintiff,
           v.                             (1) TRADEMARK INFRINGEMENT
14                                            (Section 32 of Lanham Act, 15
     SOCIAL CADRE, LLC, a New Jersey          U.S.C. § 1114);
15   Limited Liability Company; THE       (2) TRADE DRESS INFRINGMENT
     PERFECT SCULPT, LLC, a New Jersey        (Section 43(a) of Lanham Act, 15
16
     Limited Liability Company; FITCHOICE     U.S.C. § 1125(a));
17   CORPORATION, a New Jersey            (3) REVERSE CONFUSION (Section
     Corporation; DANIEL SNOW, an             43(a) of Lanham Act, 15 U.S.C. §
18   individual; JONATHAN SNOW, an            1125(a);
     individual; GREGORY HUELPLER, an (4) UNFAIR COMPETITION, FALSE
19   individual; MICHAEL RODRIGUEZ, an        DESIGNATION OF ORIGIN,
20   individual; and DOES 1 through 100,      AND PASSING OFF (Section 43(a)
     inclusive,                               of Lanham Act, 15 U.S.C. §
21                                            1125(a);
                        Defendants.       (5) TRADEMARK DILUTION
22                                            (Section 43(c) of Lanham Act, 15
                                              U.S.C. § 1125(c));
23
                                          (6) TRADEMARK DILUTION (Cal.
24                                            Bus. & Prof. Code § 14247);
                                          (7) UNFAIR COMPETITION (Cal.
25                                            Bus. & Prof. Code §§ 17200 et seq.);
                                          (8) CIVIL CONSPIRACY;
26                                        (9) ACCOUNTING
27
                                             DEMAND FOR JURY TRIAL
28

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 1         Plaintiff Sports Research Corporation (“Plaintiff” or “SRC”) alleges the
 2 following causes of action against defendants SOCIAL CADRE, LLC (“Social
 3 Cadre”), THE PERFECT SCULPT, LLC (“Perfect Sculpt”), FITCHOICE
 4 CORPORATION (“FitChoice,” and collectively with Social Cadre and Perfect Sculpt,
 5 “the Snow Entities”), DANIEL SNOW (“Daniel”), JONATHAN SNOW (“Jonathan,”
 6 and together with Daniel, “the Snow Brothers”), GREGORY HUELPLER
 7 (“Huelpler”), MICHAEL RODRIGUEZ (“Rodriguez”), and DOES 1 through 100
 8 (“DOE Defendants”) (collectively, “Defendants”) as follows:
 9
10                                SUMMARY OF ACTION
11         1.    This is an action for permanent injunctive relief and to recover damages
12 for Defendants’ willful and malicious acts of federal trademark infringement; federal
13 trade dress infringement; federal reverse confusion; federal unfair competition, false
14 designation of origin, and passing off; federal trademark dilution; California
15 trademark dilution; California unfair competition; civil conspiracy; and accounting.
16         2.    These claims arise out of the sale of competing workout enhancer
17 products across the United States and in the Central District of California.
18
19                                     THE PARTIES
20         PLAINTIFF
21         3.    Plaintiff SRC is a corporation duly incorporated under the laws of the
22 state of California in 1981, with its principal place of business at 784 W. Channel
23 Street, San Pedro, California 90731 (“SRC Address”). SRC is a worldwide
24 manufacturer and distributer of fitness and nutritional products, including the SWEET
25 SWEAT® workout enhancer gel (“SWEET SWEAT® Product”). The SWEET
26 SWEAT® Product and related products are sold online through SRC’s website as well
27 as on amazon.com and other health-related retailers throughout the United States,
28 including in the Central District of California.

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 1         NAMED DEFENDANTS
 2         4.      SRC is informed and believes, and based thereon alleges, that defendant
 3 Social Cadre is a New Jersey limited liability company. Its principal place of business
 4 is listed on socialcadre.com as 201 NJ 17, Suite 606, Rutherford, New Jersey 07070.
 5 However, SRC is informed and believes, and based thereon alleges, that there is no
 6 such business at that address.
 7         5.      SRC is informed and believes, and based thereon alleges, that defendant
 8 Perfect Sculpt is a New Jersey limited liability company. Its principal place of
 9 business is listed on perfectsculpts.com as 201 NJ 17, Suite 606, Rutherford, New
10 Jersey 07070. However, SRC is informed and believes, and based thereon alleges,
11 that there is no such business at that address.
12         6.      SRC is informed and believes, and based thereon alleges, that defendant
13 FitChoice is a New Jersey corporation. Its principal place of business is listed on
14 fitchoice.co as 201 NJ 17, Suite 606, Rutherford, New Jersey 07070. However, SRC
15 is informed and believes, and based thereon alleges, that no such business exists at
16 that address.
17         7.      SRC is informed and believes, and based thereon alleges, that the
18 defendant Snow Brothers (Daniel and Jonathan) are individuals residing in Edgewater,
19 New Jersey and doing business across the United States, including in the Central
20 District of California.
21         8.      SRC is informed and believes, and based thereon alleges, that the Snow
22 Brothers are the co-founders of Social Cadre and either directly or indirectly operate
23 FitChoice and Perfect Sculpt.
24         9.      SRC is informed and believes, and based thereon alleges, that defendant
25 Huelpler is an individual employed by Social Cadre in New Jersey. The Snow
26 Websites each represent that “Questions about the Terms of Service should be sent to
27 us at greg@socialcadre.com.”
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 1         10.   SRC is informed and believes, and based thereon alleges, that defendant
 2 Rodriguez is an individual employed as Manager of FitChoice and Perfect Sculpt.
 3         11.   SRC is informed and believes, and based thereon alleges, that Defendants
 4 are using the trademark SCULPT SWEAT on a “workout enhancer” cream (the
 5 “Sculpt Sweat Product(s)”), which they sell both individually and in conjunction with
 6 sweat vests and belts on their websites perfectsculpts.com, theperfectsculpt.com
 7 (which now redirects to perfectsculpts.com), fitchoice.co, and shopsculptsweat.com
 8 (collectively, “the Snow Websites”) throughout the United States, including in the
 9 Central District of California.
10         12.   SRC is informed and believes, and based thereon alleges, that Defendants
11 do not own any federal or state registrations or trademark applications.
12         13.   SRC is informed and believes, and based thereon alleges, that Defendants
13 utilize a fulfillment center in Valencia, California to complete orders of the Sculpt
14 Sweat Product.
15         ALTER EGOS
16         14.   SRC is informed and believes, and based thereon alleges, that the Snow
17 Entities are shell companies being used as instrumentalities and conduits for a single
18 venture controlled by the Snow Brothers.
19         15.    SRC is informed and believes, and based thereon alleges, that Snow
20 Entities are the alter egos of the Snow Brothers, by reason of the following:
21               a.    SRC is informed and believes, and based thereon alleges, that there
22 exists a unity of interest and ownership between the Snow Brothers, on the one hand,
23 and the Snow Entities, on the other hand, such that any individuality and separateness
24 between the Snow Brothers, on the one hand, and the Snow Entities, on the other
25 hand, does not exist.
26               b.    SRC is informed and believes, and based thereon alleges, that the
27 Snow Brothers exercise complete control and dominance over the Snow Entities and
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 1 consequently, the Snow Entities are mere shells, instrumentalities, and conduits
 2 through which the Snow Brothers carry on a single enterprise.
 3               c.     SRC is informed and believes, and based thereon alleges, that the
 4 Snow Brothers, at all times relevant hereto, dominated, influenced, and controlled the
 5 Snow Entities, and any officers or directors other than the Snow Brothers that such
 6 entities may have, as well as the business, property, and affairs of such entities.
 7               d.     SRC is informed and believes, and based thereon alleges, that at all
 8 times relevant hereto, the Snow Entities were created and continued pursuant to a
 9 fraudulent plan, scheme, and device conceived and operated by the Snow Brothers,
10 whereby the income, revenue, and profits of such entities were diverted by the Snow
11 Brothers to themselves.
12               e.     SRC is informed and believes, and based thereon alleges, that at all
13 times relevant hereto, the Snow Entities were organized by the Snow Brothers as a
14 device to avoid individual liability and to create tax advantages and that such entities
15 were formed with capitalization totally inadequate for the business in which said
16 company was engaged.
17         16.   By virtue of the foregoing, adherence to the fiction of the separate
18 corporate existence of the Snow Entities would, under the circumstances, sanction a
19 fraud and promote injustice in that SRC may be unable to obtain effective relief and
20 collect upon any judgment in its favor. SRC is informed and believes, and based
21 thereon alleges, that at all times relevant hereto, the Snow Brothers and the Snow
22 Entities acted for each other in connection with the conduct herein alleged that each of
23 them performed the acts complained of herein or breached the duties herein
24 complained of as agents of each other and each is therefore fully liable for the acts of
25 each other.
26         DOE DEFENDANTS
27         17.   SRC is unaware of the true names and capacities, whether individual,
28 corporate, associate, or otherwise, of defendants DOES 1 through 100, inclusive, or

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 1 any of them, and is gathering information to determine if other known entities or
 2 individuals are complicit in Defendants' wrongdoing, and therefore sues these
 3 defendants, and each of them, by such fictitious names. SRC will either file a DOE
 4 amendment and/or an amended complaint and/or seek leave of this Court to amend
 5 this complaint when the status and identities of these defendants are ascertained or
 6 when SRC determines claims against known entities or individuals are warranted.
 7 The DOES include individuals and entities assisting or acting in concert with
 8 Defendants in connection with the acts complained of herein.
 9         18.   Each fictitiously named defendants was in some way responsible for,
10 participated in, or contributed to the matters of which SRC complains, and has legal
11 responsibilities for those matters.
12
13                              JURISDICTION AND VENUE
14         19.   This Court has subject matter jurisdiction under Section 39 of the
15 Trademark Act of 1946 (the “Lanham Act”), 15 U.S.C. § 1121, under Sections 1311,
16 1338, and 1367 of the Judicial Code, 28 U.S.C. §§ 1331, 1338, 1367, and under
17 principals of pendant jurisdiction. This Court also has jurisdiction pursuant to 28
18 U.S.C. § 1332 as there is diversity between the parties and the matter in controversy
19 exceeds, exclusive of interest and costs, the sum of seventy-five thousand dollars
20 ($75,000).
21         20.   This Court has personal jurisdiction over the Defendants because
22 Defendants transact business in California and this action arises from this transacting
23 of business, namely, the sale and marketing of the Sculpt Sweat Products in
24 California. Defendants’ Sculpt Sweat Product is available for purchase in the State of
25 California and Defendants fulfill their orders of the Sculpt Sweat Product in this
26 judicial district, and therefore, Defendants have engaged in tortious conduct in the
27 State of California and this district.
28         21.   Venue is proper in this district pursuant to 28 U.S.C. § 1391.

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 1               SRC’S SWEET SWEAT® TRADEMARKS AND PRODUCT
 2         22.    SRC is a global leader in the manufacture, distribution, and sale of
 3 workout-related products worldwide since 1980.
 4         23.    Among other things, SRC owns a federal trademark for SWEET
 5 SWEAT® (U.S. Registration No. 4,826,800), the trademark under which it sells the
 6 SWEET SWEAT® Product and waist trimmer belts. Attached hereto as Exhibit A is
 7 a true and correct copy of this SWEET SWEAT® trademark registration in the United
 8 States, which is incorporated herein by reference.
 9         24.    SRC also sells thigh and arm trimmer belts, fitness clothing and
10 accessories, and provides online retail store services featuring health, fitness, and
11 weight loss products under a separate SWEET SWEAT® federal trademark (U.S.
12 Registration No. 5,335,523). Attached hereto as Exhibit B is a true and correct copy
13 of this SWEET SWEAT® trademark registration in the United States, which is
14 incorporated herein by reference.
15         25.    SRC also owns a federal trademark for the “Sweat Drop Logo” (U.S.
16 Registration No. 5,311,331), which it uses in connection with the SWEET SWEAT®
17 Product. Attached hereto as Exhibit C is a true and correct copy of Sweat Drop Logo
18 trademark registration in the United States, which is incorporated herein by reference.
19         26.    SRC began selling the SWEET SWEAT® Product at least as early as
20 October 2, 1987. SRC began using the Sweat Drop Logo in connection with the
21 SWEET SWEAT® Product as early as August 2013.
22         27.    SRC advertises its SWEET SWEAT® Product as a “workout enhancer”
23 that is “activated by your elevated heartrate and may help the body sweat more during
24 exercise.” SRC represents that for optimal results, the SWEET SWEAT® Product
25 should be used in conjunction with SWEET SWEAT® waist trimmer belt.
26                        SRC’S SWEET SWEAT TRADE DRESS
27         28.    SRC is the owner of inherently distinctive trade dress embodied by the
28 unique and distinctive packaging of its SWEET SWEAT® Product (“Sweet Sweat

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 1 Trade Dress”). This packaging dress is comprised of various nonfunctional elements
 2 that create a distinctive appearance.
 3         29.   In particular, SRC has used the following packaging design elements for
 4 its SWEET SWEAT® Product to create a distinctive commercial impression, e.g.,
 5 black container with the SWEET SWEAT® mark and the Sweat Drop Logo
 6 prominently featured on the packaging, the text “workout enhancer” on the front of
 7 the packaging, the SRC Address and SRC’s phone number (“SRC Phone Number,”
 8 and together with SRC Address, “SRC Contact Information”) prominently on the back
 9 of the product packaging, and the Universal Product Code (“UPC”) for the specific
10 product.
11         30.   SRC sells the SWEET SWEAT® Product in 6.5 oz and 13.5 oz jars, a 6.4
12 oz stick that may be applied directly to the body, and in travel packets.
13         31.   The following images, Figures 1 and 2, are the front and back of the
14 SWEET SWEAT® Product 6.5 oz jar, respectively.
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                                           Figure 1
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13                                         Figure 2

14         32.   The UPC for the SWEET SWEAT® Product 6.5 oz jar is 23249000013
15 (“SWEET SWEAT® UPC”) and is unique to this specific product.
16         33.   The following images, Figures 3 and 4, are the front and back of the 6.4
17 oz SWEET SWEAT® Product stick, respectively:
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18                                    Figure 3

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                                     COMPLAINT
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18                                       Figure 4

19        34.   The Sweet Sweat Trade Dress, in part or as a whole, is used to convey
20 the distinct appearance of the SWEET SWEAT® Product as compared to other
21 workout enhancers on the market and is nonfunctional. The choice of packaging
22 colors is nonfunctional. There is no functional need for the SRC Contact Information
23 and SWEET SWEAT® UPC, as the products would work perfectly without the text or
24 image.
25        35.   None of these package design elements serve any function other than to
26 distinguish SRC’s workout enhancer products from others on the market. Of the
27 many workout enhancer products that compete directly with SRC’s workout enhancer
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 1 products, other than as alleged in this Complaint, none use the combination of design
 2 elements that constitute the Sweet Sweat Trade Dress.
 3        36.    SRC has continuously promoted, advertised, marketed, sold, and
 4 distributed the SWEET SWEAT® Product using the Sweet Sweat Trade Dress since
 5 as early as early as August 2013.
 6        37.    SRC’s SWEET SWEAT® Product is sold at a wide range of retail
 7 venues throughout the United States. The SWEET SWEAT® Product has been sold
 8 at major mass merchant retailers such as WalMart and such major health and fitness
 9 retailers as GNC, The Vitamin Shoppe, and Academy Sports + Outdoors. The
10 SWEET SWEAT® Product is also sold online at sportsresearch.com, amazon.com,
11 and others, including but not limited to the websites for those retailers listed above.
12        38.    The SWEET SWEAT® Product packaged in the Sweet Sweat Trade
13 Dress has been marketed extensively by SRC as well as its retailers through retail
14 point-of-purchase displays, in-store and in-person promotional activities, sales
15 representative marketing activities, online marketing activities, and catalogs. During
16 this time frame, SRC has made significant expenditures on the sales and marketing of
17 the SWEET SWEAT® Product.
18        39.    Based on the foregoing extensive, frequent, and ongoing marketing,
19 sales, and distribution by SRC of the SWEET SWEAT® Product with the Sweet
20 Sweat Trade Dress, the Sweet Sweat Trade Dress has acquired distinctiveness and
21 secondary meaning as an indicator of the unmatched quality of SRC’s SWEET
22 SWEAT® Product.
23        40.    The Sweet Sweat Trade Dress, consistent across the SRC workout
24 enhancer product line, indicates that such products emanate from a single source,
25 SRC.
26        41.    Since the time SRC first created and began using the Sweet Sweat Trade
27 Dress, SRC has been, and currently is, the exclusive source in the United States for
28 workout enhancer products having the Sweet Sweat Trade Dress.

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                                           COMPLAINT
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 1        42.    The SRC workout enhancer products having the Sweet Sweat Trade
 2 Dress have been one of the top-selling workout enhancer products nationwide.
 3        43.    SRC has expended substantial effort and funds in developing the
 4 goodwill in the Sweet Sweat Trade Dress and in developing consumer association
 5 with the Sweet Sweat Trade Dress as emanating from SRC. As a result of the sales
 6 and marketing efforts of SRC described above, the public has come to look for
 7 workout enhancer products bearing the Sweet Sweat Trade Dress from SRC.
 8        44.    The distinctive packaging of SRC’s workout enhancer products has
 9 become so associated with the SWEET SWEAT® brand that it communicates the
10 same features as the SWEET SWEAT® brand name itself.
11        45.    Portions of the current Sweet Sweat Trade Dress have been used
12 continuously on the SWEET SWEAT® Product since its introduction in 1987.
13
14                       DEFENDANTS’ IMPROPER CONDUCT
15        46.    Defendants have unfairly encroached into SRC’s market for workout
16 enhancers by using a confusingly similar mark, Sculpt Sweat, in combination with
17 trade dress that is confusingly similar to, and an obvious derivative of, the Sweet
18 Sweat Trade Dress, including the display of SRC Contact Information and SWEET
19 SWEAT® UPC. Defendants’ careful mimicking of SRC’s overall commercial
20 impression is likely to cause confusion, mistake, or deception for consumers seeking
21 to purchase SRC products, including the SWEET SWEAT® Product.
22        47.    Indeed, instances of actual confusion have already been reported to SRC.
23        48.    Beginning in or about June 2019, SRC discovered the existence of the
24 Sculpt Sweat Product and the Snow Websites based on emails to its customer support
25 specialists (“SRC Customer Support”) and calls received on the SRC Telephone
26 Number from customers who had purchased the Sculpt Sweat Product on the Snow
27 Websites and believed the products purchased were SRC products.
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 1        49.    Various individuals contacted SRC in order to make complaints about the
 2 Sculpt Sweat Product. Numerous individuals called the SRC Telephone Number and
 3 spoke with and subsequently emailed with SRC Customer Support. One individual
 4 stated that he called the phone number displayed on the Sculpt Sweat Product he
 5 ordered, which was the SRC Telephone Number, and was directed to the SRC
 6 Customer Support website. Another individual contacted SRC Customer Support
 7 directly via email and forwarded a shipping confirmation email from FitChoice, stated
 8 that she had not received everything she ordered, and asked SRC to fulfill the order or
 9 otherwise refund her account. Attached hereto as Exhibit D is a true and correct copy
10 of various emails between SRC Customer Support and individuals purchasing the
11 Sculpt Sweat Product, and is incorporated herein by this reference.
12        50.    In response to each complaint, SRC Customer Support asked the
13 individuals for pictures of the product they received and the contact information on
14 the product label. (See Exhibit D.)
15        51.    The individuals each responded with email confirmations or product
16 pictures showing that the products were not SRC products, including the SWEET
17 SWEAT® Product, but rather the Sculpt Sweat Product and were fulfilled by the
18 Snow Companies. (See id.)
19        52.    In addition, the Snow Websites were prominently displaying images of
20 the Sculpt Sweat Product including its packaging and tube (“Infringing Image”),
21 which contained specific representations including SRC Contact Information, SRC’s
22 toll-free phone number, and the SWEET SWEAT® UPC, as shown in Figure 5 below:
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                                          Figure 5
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21        53.    SRC also discovered that the Snow Websites were utilizing SRC’s
22 copyright thermogenic images and advertising copy on the shopsculptsweat.com
23 website.
24
25     CONTINUED WRONGDOING AND USE OF SRC INFORMATION BY
26              DEFENDANTS DESPITE CEASE AND DESIST DEMAND
27        54.    On or about September 17, 2019, SRC issued a cease and desist letter to
28 Defendants in which it demanded an accounting of profits derived from the use of the

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 1 Sculpt Sweat mark and sales of the Sculpt Sweat Products received to date from each
 2 Snow Website and any other source of sales. Attached hereto as Exhibit E is a true
 3 and correct copy of SRC’s September 17, 2019 cease and desist letter issued to
 4 Defendants, and incorporated herein by this reference.
 5        55.    SRC also demanded that Defendants, and each of them, (i) cease and
 6 desist from infringing on SRC’s copyrighted materials in any way on any of the Snow
 7 Defendants’ products, packaging or advertising, in print, electronic or otherwise; (ii)
 8 cease and desist from infringing on SRC’s trade dress in any way on the Snow
 9 Defendants’ websites, products, packaging or advertising, in print, electronic or
10 otherwise; (iii) remove all references to the infringing advertising copy from the Snow
11 Websites; (iv) remove all SRC copyrighted images from the Snow Defendants’
12 websites, packaging and products; (v) cease from using any SRC trade dress and
13 copyrighted images on any online, printed or any other materials in any form; and(vi)
14 provide written confirmation that the Snow Defendants will abide by SRC’s cease and
15 desist demand. (See Exhibit E.)
16        First Instance of Continued Wrongdoing Despite Representations By
17        Defendants’ Counsel
18        56.    On or about September 30, 2019, Defendants’ counsel for the Snow
19 Defendants responded, stating that it was “shocking” that the Sculpt Sweat Product
20 packaging contained the SWEET SWEAT® UPC and SRC Contact Information and
21 that Defendants “did not have a hand in adding those particular materials to the label.”
22 Instead, Defendants’ counsel represented that Defendants’ manufacturer provided the
23 SWEET SWEAT® UPC and added it to Defendants’ product packaging “under the
24 impression that it was unique to our product[]” and added the SRC Contact
25 Information “without [Defendants’] knowledge or their direction.” Attached as
26 Exhibit F is a true and correct copy of Defendants’ response to SRC’s cease and
27 desist letter dated September 30, 2019 (“September 30 Letter”), incorporated herein
28 by this reference.

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1            57.   Defendants’ counsel further represented as follows:
2                     “As soon as you notified our client of this issue, the
                      manufacturer was contacted and directed to remedy the
3
                      situation immediately. To the best of our knowledge, all
4                     newly manufactured product will feature the correct UPC
5
                      and business address of Social Cadre and any content
                      belonging to your client has been removed. According to our
6                     client’s manufacturer, on or near the date of this letter, all
7
                      new product sold and shipped to customers should have the
                      updated labeling. Social Cadre will follow up with the
8                     manufacturer and review new product in order to ensure that
9                     this oversight has been corrected.”
     (Exhibit F, emphasis in original.)
10
             58.   Defendants’ counsel also represented that the presence of SRC’s
11
     copyrighted thermal images and advertising copy on Snow Websites was “a surprise
12
     to our clients, who had no hand in actually developing the website and had trusted a
13
     professional marketing company to produce this advertising content with original
14
     content and imagery.” (See id.)
15
             59.   Defendants’ counsel further represented that as of the date of his letter,
16
     the images have been removed from the shopsculptsweat.com website. (See id.)
17
             60.   On or about October 1, 2019, SRC ordered various products, from
18
     Perfect Sculpt, including the Sculpt Sweat Product and a Sculpt Sweat Men’s Sweat
19
     Belt.
20
             61.   When the products arrived, the packaging and tube for the Sculpt Sweat
21
     Products was identical to the Infringing Image. Specifically, it displayed SRC
22
     Contact Information and the SWEET SWEAT® UPC.
23
             62.   In addition, the SCULPT SWEAT packaging and tube contained
24
     representations (“Sculpt Sweat Representations”) different from those on SRC’s
25
     website regarding SWEET SWEAT®, and such representations do not comply with
26
     the law.
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 1        Repeated Instance of Continued Wrongdoing Despite Representations By
 2        Defendants’ Counsel
 3        63.    On October 5, 2019, SRC’s counsel requested the name of the
 4 manufacturer referenced by Defendants’ counsel in his September 30 Letter.
 5        64.    On October 21, 2019, Defendants’ counsel responded that the
 6 manufacturer has shut down and no longer exists. Defendants’ counsel represented
 7 that the reference to a marketing company was a miscommunication between himself
 8 and Defendants, and that the Infringing Image was put together by an internal
 9 marketer who no longer works for Social Cadre. Defendants’ counsel further
10 represented that since Social Cadre had removed the Infringing Image, including SRC
11 Contact Information and the SWEET SWEAT® UPC, from all packaging and
12 websites, the matter was resolved. Defendants’ counsel concluded by committing to
13 (i) no further use of the Infringing Image, SRC Contact Information, and the SWEET
14 SWEAT® UPC; and (ii) the destruction of all Sculpt Sweat Product packaging
15 containing the Infringing Image and/or SRC Contact Information and/or the SWEET
16 SWEAT® UPC.
17        65.    On October 22, 2019, the following day, SRC was able to view new
18 images of the SCULPT SWEAT product on the Snow Websites, but the Infringing
19 Image was still viewable in numerous online advertisements and SRC’s business
20 address, the SRC Telephone Number, and the SWEET SWEAT® UPC could still be
21 identified.
22        66.    As of at least October 22, 2019, Defendants had removed SRC’s
23 copyrighted thermogenic images and related advertising copy from the
24 shopsculptsweat.com website.
25        67.    In addition, SRC continued to purchase products from the Snow
26 Websites. SRC received its latest orders of two SCULPT SWEAT creams. The
27 packaging and tube of each still displayed SRC Contact Information and the
28 SWEET® UPC, as shown in Figures 6-10 below:

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21                                    Figure 8
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13                                    Figure 9
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27                                    Figure 10
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22                                        Figure 11
23        68.    In addition, as can be seen in Figure 11, above, the packaging and tube
24 display continued to display the Sculpt Sweat Representations, including that it:
25              a.    “Enhances circulation of sweating;”
26               b.    “Targets fat loss and undesirable water weight removal;”
27               c.    “Combats muscle fatigue while enhancing muscle activity;”
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 1              d.     “Delivers therapeutic effect to ailing muscles;”
 2              e.     “Increases motivation and energy during physical activity;” and
 3              f.     “Stimulates sweat glands, thus releasing built up toxins from your
 4 body.”
 5        69.   Therefore, SRC is informed and believes, and based thereon alleges, that
 6 Defendants had and continue to have no intention to (i) stop advertising and selling
 7 the Sculpt Sweat Product; (ii) stop displaying SRC’s information, including SRC’s
 8 business address, the SRC Telephone Number, and SWEET SWEAT® UPC on the
 9 Sculpt Sweat Product; (iii) remove the Sculpt Sweat Representations from the Sculpt
10 Sweat Product; or (iv) destroy any of the Sculpt Sweat Product.
11
12   DEFENDANTS ARE INTENTIONALLY MIMICKING SRC’S TRADEMARK
13     AND TRADE DRESS TO CONFUSE CONSUMERS AND TAKE AWAY
14                                         SALES
15        70.   The combination of Defendants’ confusingly similar brand name, Sculpt
16 Sweat, and confusingly similar packaging, which includes SRC’s Contact information
17 and the SWEET SWEAT® UPC, is not only likely to result in consumer confusion
18 but is already causing confusion and is continuing to do so. This conduct is believed
19 to have been undertaken intentionally or with reckless disregard to SRC’s rights and
20 has demonstrably damaged the goodwill and consumer loyalty in the SWEET
21 SWEAT® brand.
22        71.   In the alternative, the infringing packaging may cause, and indeed has
23 caused, consumers to believe that the SWEET SWEAT® Product is somehow the
24 same as or affiliated with the manufacturer of the Sculpt Sweat Product.
25        72.   The similarity between Defendants’ Sculpt Sweat mark and the SWEET
26 SWEAT® brand name has already resulted in consumer confusion. Both brands share
27 the same second word, Sweat, and overall evoke a similar commercial impression.
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 1        73.    Defendants have willfully and intentionally mimicked the Sweet Sweat
 2 Trade Dress and have caused and are likely to cause consumer confusion as a result.
 3        74.    Further, Defendants’ infringing packaging immediately evokes the
 4 SWEET SWEAT® brand and the Sweet Sweat Trade Dress and will cause, and
 5 already has caused, consumer confusion, mistake, or deception as to whether the
 6 Sculpt Sweat Product is the same as the SWEET SWEAT® Product, or new products
 7 from the same manufacturer, or have some sort of other affiliation and/or connection
 8 with SRC and/or the SWEET SWEAT® brand.
 9        75.    Alternatively, reverse-confusion is also likely to occur when a consumer
10 decides against buying the SWEET SWEAT® brand based on a bad experience with a
11 Sculpt Sweat Product.
12        76.    The combination of the infringing packaging and the similarity of
13 Defendants’ mark to SWEET SWEAT® is likely to create the misapprehension that
14 the issues that consumers found with the Sculpt Sweat Product are attributable to
15 SRC.
16        77.    In the alternative, the combination of the infringing packaging and the
17 similarity of Defendants’ mark to SWEET SWEAT® is likely to create the
18 misapprehension that SRC’s workout enhancer products are manufactured by
19 Defendants and are thus of inferior quality, as well.
20        78.    SRC is informed and believes, and based thereon alleges, that
21 Defendants’ infringement of the Sweet Sweat Trade Dress and its marketing,
22 distribution, offering for sale and sale of its Sculpt Sweat Product in the infringing
23 packaging has generated substantial sales and profits for Defendants and has driven
24 SRC’s existing and potential customers to purchase products from Defendants, at
25 SRC’s expense.
26        79.    The actual and, upon information and belief, intended effect of
27 Defendants’ use of the Sweet Sweat Trade Dress is to cause consumers to be confused
28 or deceived or to mistakenly believe that Defendants’ Sculpt Sweat Products sold in

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 1 the infringing packaging are made, sponsored, endorsed, authorized by, or in some
 2 other manner affiliated with SRC, which they are not. This is especially damaging
 3 with respect to those persons who perceive a defect and/or lack of quality in
 4 Defendants’ Sculpt Sweat Product sold in the infringing packaging. The likelihood of
 5 confusion, mistake, and deception created by Defendants’ use of the infringing
 6 packaging is thus causing irreparable harm to the goodwill symbolized by the Sweet
 7 Sweat Trade Dress and the SWEET SWEAT® brand name and the reputation for
 8 quality that they embody.
 9         80.   As a direct and proximate result of Defendants’ infringing activities, SRC
10 is suffering irreparable injury for which there is no adequate remedy at law, including
11 but not limited to the dilution of its brand equity in the eyes of retailers and
12 consumers. Furthermore, absent injunctive relief, SRC will continue to suffer
13 irreparable injury for which there is no adequate remedy at law.
14         81.   SRC is informed and believes, and based thereon alleges, that Defendants
15 have derived certain direct and indirect benefits and profits from their unlawful
16 distribution, marketing, and sale of products in the infringing packaging, all at SRC’s
17 economic and reputational expense.
18         82.   The foregoing actions by Defendants have caused and will continue to
19 cause SRC to suffer damages, including but not limited to lost sales, lost profits, and
20 damaged goodwill.
21         83.   SRC is informed and believes, and based thereon alleges, that the
22 foregoing acts by Defendants have been willful, wanton, intentional, malicious, and
23 purposeful or in reckless disregard of, or with callous indifference to, SRC’s rights.
24         84.   Defendants’ foregoing acts have occurred in interstate commerce and in a
25 manner affecting interstate commerce.
26         85.   The activities of Defendants complained of herein have damaged SRC in
27 an amount that is not yet determined.
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 1        86.    Accordingly, SRC seeks damages arising out of Defendants’ past and
 2 present infringement and permanent injunctive relief against Defendants’ continuing
 3 use of its infringing trademark, trade dress, and unauthorized use of SRC Contact
 4 Information and the SWEET SWEAT® UPC.
 5
 6                                      CONSPIRACY
 7        87.    The Defendant Snow Brothers, Snow Entities, and DOES 1 through 100
 8 formed a plan to engage in a conspiracy to commit wrongful conduct, and all agreed
 9 to the shared common plan and were each aware that each other planned to participate
10 in the plan and that the plan was unlawful and fraudulent. SRC alleges that to the
11 extent that the Snow Entities and the Snow Brothers are found to be alter egos of each
12 other, then they acted together as one conspiring unit with Huelpler and Rodriguez; as
13 an alternative theory of liability in the event that Snow Entities are not found to be
14 alter egos of the Snow Brothers, then Plaintiff alleges that such non-alter ego Snow
15 Entities—Social Cadre, Perfect Sculpt, and FitChoice—and each of them, was a
16 separate co-conspirator.
17        88.    Defendant Huelpler aided and abetted the commission of wrongful
18 conduct alleged in this Complaint by the Snow Brothers, the Snow Entities, and
19 DOES 1 through 100. Huelpler knew that the conduct of the Snow Brothers, the
20 Snow Entities, and DOES 1 through 100 constitutes wrongful conduct and provided
21 substantial assistance and encouragement to the Snow Brothers, the Snow Entities,
22 and DOES 1 through 100 to so act. Further, the Snow Brothers, the Snow Entities,
23 and DOES 1 through 100 aided and abetted the wrongful conduct alleged in this
24 Complaint by Huelpler. The Snow Brothers, Snow Entities, and DOES 1 through 100
25 knew that the conduct of Huelpler constitutes wrongful conduct and provided
26 substantial assistance or encouragement to Huelpler to so act.
27        89.    Defendant Rodriguez aided and abetted the commission of wrongful
28 conduct alleged in this Complaint by the Snow Brothers, the Snow Entities, and

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 1 DOES 1 through 100. Rodriguez knew that the conduct of the Snow Brothers, the
 2 Snow Entities, and DOES 1 through 100 constitutes wrongful conduct and provided
 3 substantial assistance and encouragement to the Snow Brothers, the Snow Entities,
 4 and DOES 1 through 100 to so act. Further, the Snow Brothers, the Snow Entities,
 5 and DOES 1 through 100 aided and abetted the wrongful conduct alleged in this
 6 Complaint by Rodriguez. The Snow Brothers, Snow Entities, and DOES 1 through
 7 100 knew that the conduct of Rodriguez constitutes wrongful conduct and provided
 8 substantial assistance or encouragement to Rodriguez to so act.
 9        90.    SRC is informed and believes, and based thereon alleges, that DOES 1
10 through 100 were part of the planned conspiracy to commit wrongful conduct, and all
11 agreed to the common plan and were each aware that each other and Defendants
12 planned to participate in the plan and that the plan was unlawful and fraudulent.
13        91.    SRC is informed and believes, and based thereon alleges, that DOES 1
14 through 100 aided and abetted the commission of wrongful conduct alleged in this
15 Complaint by Defendants. DOES 1 through 100 knew that the conduct of Defendants
16 constitutes wrongful conduct and provided substantial assistance and encouragement
17 to Defendants to so act.
18
19                              FIRST CAUSE OF ACTION
20   (For Trademark Infringement Under Section 32 Lanham Act, 15 U.S.C. § 1114
21                       Against All Defendants and DOES 1-100)
22        92.    SRC incorporates by reference and realleges the allegations set forth in
23 paragraph 1 through 91 above as if fully set forth herein.
24        93.    SRC is the exclusive owner of the SWEET SWEAT® and Sweat Drop
25 Logo registered trademarks for use with its workout enhancer topical gel, which are
26 protectable at law under the Lanham Act.
27        94.    Defendants’ use of “Sculpt Sweat” is likely to cause confusion,
28 deception, and mistake by creating the false and misleading impression that

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 1 Defendants’ products offered in conjunction with this mark are affiliated, connected,
 2 or associated with the SWEET SWEAT® workout enhancer products, or are
 3 endorsed, sponsored, or approved by, or otherwise originate from, SRC, as the
 4 manufacturer of SWEET SWEAT® brand products.
 5        95.    SRC is informed and believes, and based thereon alleges, that
 6 Defendants’ activities described above have been willful, wanton, and in deliberate
 7 disregard of SRC’s trademark rights, and for the purpose of intentionally
 8 misappropriating and capitalizing on SRC’s goodwill.
 9        96.    Defendants’ aforementioned acts are exceptional within the meaning of
10 15 U.S.C. § 1117.
11        97.    As a direct and proximate result of Defendants’ acts of willful
12 infringement, SRC has suffered damage to the SWEET SWEAT® trademark, and
13 other damages in an amount to be proven at trial, including Defendants’ profits and
14 SRC’s lost profits.
15        98.    SRC has no adequate remedy at law. If Defendants’ activities are not
16 enjoined, SRC will continue to suffer irreparable harm and injury to its goodwill and
17 reputation.
18                            SECOND CAUSE OF ACTION
19     (For Trade Dress Infringement Under Section 43(a) of the Lanham Act, 15
20               U.S.C. § 1125(a) Against All Defendants and DOES 1-100)
21        99.    SRC incorporates by reference and realleges the allegations set forth in
22 paragraph 1 through 98 above as if fully set forth herein.
23        100. SRC is the exclusive owner of the Sweet Sweat Trade Dress, which is
24 protectable at law under the Lanham Act. The Sweet Sweat Trade Dress is distinctive
25 and nonfunctional and has become associated with high quality workout enhancers
26 from a single source. The Sweet Sweat Trade Dress has acquired secondary meaning
27 by virtue of SRC’s advertising and marketing and widespread distribution of the
28 SWEET SWEAT® Product packaged in the Sweet Sweat Trade Dress at brick-and-

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 1 mortar and online retailers nationwide, and the extensive commercial sales of the
 2 SWEET SWEAT® Product packaged in the Sweet Sweat Trade Dress.
 3          101. Defendants are infringing on the Sweet Sweat Trade Dress in connection
 4 with the distribution, marketing, and sale of Defendants’ Sculpt Sweat Product in
 5 infringing packaging in interstate commerce and in a manner substantially affecting
 6 commerce.
 7          102. Defendants’ actions (a) have caused and are likely to continue to cause
 8 confusion or mistake or to deceive the relevant consuming public; (b) have caused and
 9 are likely to continue to cause consumers to mistakenly believe that SRC has
10 manufactured, sponsored, authorized, or licensed Defendants’ products for sale,
11 and/or that Defendants’ products are being distributed by an authorized distributor; (c)
12 have caused and are, at a minimum, likely to continue to cause consumers’ attention to
13 be initially drawn to the Sculpt Sweat Product due to its’ infringing appearance that
14 mimics the appearance of SRC’s competing SWEET SWEAT® Product; and (d) have
15 damaged and are likely to continue to damage the reputation and goodwill previously
16 established by SRC in the SWEET SWEAT® brand, Product, and Sweet Sweat Trade
17 Dress.
18          103. As a direct and proximate result of the above-mentioned acts, SRC has
19 been deprived of the patronage of a large number of its actual and potential customers,
20 all to its damage in an amount to be determined at trial.
21          104. Defendants’ foregoing acts constitute infringement of the Sweet Sweat
22 Trade Dress in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
23          105. Defendants’ wrongful conduct is likely to continue unless restrained and
24 enjoined.
25          106. SRC is informed and believes, and based thereon alleges, that
26 Defendants’ activities as described above have been willful, wanton, and in deliberate
27 disregard of SRC’s trade dress rights, and for the purpose of intentionally
28 misappropriating and capitalizing on SRC’s goodwill.

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 1        107. Defendants’ aforementioned acts are exceptional within the meaning of
 2 15 U.S.C. § 1117.
 3        108. As a direct and proximate result of Defendants’ acts of willful trade dress
 4 infringement, SRC has suffered damage to the SWEET SWEAT® trademark, and
 5 other damages in an amount to be proven at trial, including Defendants’ profits and
 6 SRC’s lost profits.
 7        109. SRC has no adequate remedy at law. If Defendants’ activities are not
 8 enjoined SRC will continue to suffer irreparable harm and injury to its goodwill and
 9 reputation.
10
11                             THIRD CAUSE OF ACTION
12   (For Reverse Confusion Under Section 43(a) of Lanham Act, 15 U.S.C. § 1125(a)
13                       Against All Defendants and DOES 1-100)
14        110. SRC incorporates by reference and realleges the allegations set forth in
15 paragraph 1 through 109 above as if fully set forth herein.
16        111. SRC is informed and believes, and based thereon alleges, that Defendants
17 have expended considerable resources in promoting workout enhancers bearing the
18 Sculpt Sweat name and the infringing packaging.
19        112. Defendants are infringing the Sweet Sweat Trade Dress and SWEET
20 SWEAT® trademarks in connection with the distribution, marketing, and sale of
21 Defendants’ Sculpt Sweat Product in infringing packaging in interstate commerce and
22 in a manner substantially affecting commerce.
23        113. Defendants’ actions (a) are likely to cause confusion among consumers
24 as to the source of the SWEET SWEAT® Product; (b) are likely to cause consumers
25 to believe that Defendants have manufactured, sponsored, authorized, or licensed the
26 SWEET SWEAT® Product for sale; and (c) are likely to damage the reputation and
27 goodwill previously established by SRC in the SWET SWEAT® brand, Product, and
28 Sweet Sweat Trade Dress.

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 1        114. Defendants’ foregoing actions constitute reverse confusion under Section
 2 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
 3        115. SRC is informed and believes, and based thereon alleges, that
 4 Defendants’ activities described above have been willful, wanton, and in deliberate
 5 disregard of SRC’s trademark rights, and for the purpose of intentionally
 6 misappropriating and capitalizing on SRC’s goodwill.
 7        116. Defendants’ aforementioned acts are exceptional within the meaning of
 8 15 U.S.C. § 1117.
 9        117. As a direct and proximate result of Defendants’ acts of willful trademark
10 and trade dress infringement, SRC has suffered damage to the SWEET SWEAT®
11 trademark, and other damages in an amount to be proven at trial, including
12 Defendants’ profits and SRC’s lost profits.
13        118. SRC has no adequate remedy at law. If Defendants’ activities are not
14 enjoined, SRC will continue to suffer irreparable harm and injury to its goodwill and
15 reputation.
16                             FOURTH CAUSE OF ACTION
17    (For Unfair Competition, False Designation of Origin, and Passing Off Under
18   Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a) Against All Defendants and
19                                       DOES 1-100)
20        119. SRC incorporates by reference and realleges the allegations set forth in
21 paragraph 1 through 118 above as if fully set forth herein.
22        120. Defendants’ acts of distributing, marketing, and selling their Sculpt
23 Sweat Products with packaging that is confusingly similar to the Sweet Sweat Trade
24 Dress, including but not limited to Defendants’ use of SRC Contact Information and
25 SWEET SWEAT® UPC and the Sculpt Sweat Representations, constitute unfair
26 competition, false designation of origin, and passing off that are likely to cause
27 confusion, mistake, or to deceive as to the source, affiliation, or approval of
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 1 Defendants and/or Defendants’ goods, in violation of Section 43(a) of the Lanham
 2 Act, 15 U.S.C. § 1125(a).
 3        121. SRC is informed and believes, and based thereon alleges, that
 4 Defendants’ activities described above have been willful, wanton, and in deliberate
 5 disregard of SRC’s trademark rights, and for the purpose of intentionally
 6 misappropriating and capitalizing on SRC’s goodwill.
 7        122. Defendants’ aforementioned acts are exceptional within the meaning of
 8 15 U.S.C. § 117.
 9        123. As a direct and proximate result of Defendants’ acts of unfair
10 competition, false designation of origin, and passing off, SRC has suffered damage to
11 the SWEET SWEAT® trademark, and other damages in an amount to be proven at
12 trial, including Defendants’ profits and SRC’s lost profits.
13        124. SRC has no adequate remedy at law. If Defendants’ activities are not
14 enjoined, SRC will continue to suffer irreparable harm and injury to its goodwill and
15 reputation.
16
17                              FIFTH CAUSE OF ACTION
18    (For Trademark Dilution Under Section 43(c) of the Lanham Act, 15 U.S.C. §
19                    1125(c) Against All Defendants and DOES 1-100)
20        125. SRC incorporates by reference and realleges the allegations set forth in
21 paragraph 1 through 124 above as if fully set forth herein.
22        126. SRC’s SWEET SWEAT® trademarks and Sweat Drop Logo are famous
23 and well-known throughout the United States, having been used extensively for many
24 years. By reason of extensive advertising and use, SRC’s marks have become highly
25 distinctive of SRC’s goods and are uniquely associated with SRC.
26        127. Defendants’ commercial use of the Sculpt Sweat mark in connection with
27 its infringing packaging has diluted and continues to dilute the distinctive quality of
28

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 1 SRC’s famous marks by lessening their capacity to distinguish SRC exclusively as the
 2 source of goods bearing or provided under its marks.
 3        128. Defendants’ commercial use of the Sculpt Sweat mark in connection with
 4 its infringing packaging further dilutes SRC’s marks by associating them with a
 5 product of inferior quality, thereby tarnishing the marks.
 6        129. Defendants’ unlawful use of the Sculpt Sweat mark in connection with its
 7 infringing packaging is intended to and has the effect of trading on SRC’s reputation
 8 and causing dilution to SRC’s famous marks.
 9        130. SRC is informed and believes, and based thereon alleges, that Defendants
10 do not own any federal or state registrations or trademark application for any mark
11 that includes, in whole or in part, the Sculpt Sweat mark and cannot assert any rights
12 in the Sculpt Sweat mark that are prior to SRC’s first use of its SWEET SWEAT®
13 mark and Sweat Drop Logo.
14        131. Defendants’ foregoing conduct is in violation of Section 43(c) of the
15 Lanham Act, 15 U.S.C. § 1125(c).
16        132. SRC is informed and believes, and based thereon alleges, that
17 Defendants’ activities described above have been willful, wanton, and in deliberate
18 disregard of SRC’s trademark rights, and for the purpose of intentionally
19 misappropriating and capitalizing on SRC’s goodwill.
20        133. Defendants’ aforementioned acts are exceptional within the meaning of
21 15 U.S.C. § 117.
22        134. As a direct and proximate result of Defendants’ acts of willful trademark
23 dilution, SRC has suffered damage to the SWEET SWEAT® trademark and Sweat
24 Drop Logo, and other damages in an amount to be proven at trial, including
25 Defendants’ profits and SRC’s lost profits.
26        135. SRC has no adequate remedy at law. If Defendants’ activities are not
27 enjoined, SRC will continue to suffer irreparable harm and injury to its goodwill and
28 reputation.

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 1                              SIXTH CAUSE OF ACTION
 2           (For Trademark Dilution Under Cal. Bus. & Prof. Code § 14247
 3                        Against All Defendants and DOES 1-100)
 4        136. SRC incorporates by reference and realleges the allegations set forth in
 5 paragraph 1 through 135 above as if fully set forth herein.
 6        137. SRC has extensively and continuously promoted and used the SWEET
 7 SWEAT® mark and the Sweat Drop Logo in the United States and in California, and
 8 the SWEET SWEAT® mark and Sweat Drop Logo have thereby become distinctive
 9 and famous symbols of SRC’s workout enhancer products.
10        138. Defendants’ commercial use of the Sculpt Sweat mark in connection with
11 its infringing packaging has diluted and continues to dilute the distinctive quality of
12 SRC’s marks by lessening their capacity to identify and distinguish SRC exclusively
13 as the source of goods bearing or provided under the marks.
14        139. Defendants’ commercial use of the Sculpt Sweat mark in connection with
15 its infringing packaging further dilutes SRC’s marks by associating them with a
16 product of inferior quality, thereby tarnishing the marks.
17        140. SRC is informed and believes, and based thereon alleges, that
18 Defendants’ activities described above have been willful, wanton, and in deliberate
19 disregard of SRC’s trademark rights, and for the purpose of intentionally
20 misappropriating and capitalizing on SRC’s goodwill.
21        141. Defendants have caused significant injury to SRC’s goodwill and
22 business reputation, and dilution of the distinctiveness and value of SRC’s famous and
23 distinctive marks in violation of California Bus. & Prof. Code § 14247.
24        142. As a direct and proximate result of Defendants’ acts of willful trademark
25 dilution, SRC has suffered damage to the SWEET SWEAT® trademark and Sweat
26 Drop Logo, and other damages in an amount to be proven at trial, including
27 Defendants’ profits and SRC’s lost profits.
28

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 1        143. SRC has no adequate remedy at law. If Defendants’ activities are not
 2 enjoined, SRC will continue to suffer irreparable harm and injury to its goodwill and
 3 reputation.
 4
 5                           SEVENTH CAUSE OF ACTION
 6   (For Unfair Competition Under Cal. Bus. & Prof. Code §§ 17200 et seq. Against
 7                           All Defendants and DOES 1-100)
 8        144. SRC incorporates by reference and realleges the allegations set forth in
 9 paragraph 1 through 143 above as if fully set forth herein.
10        145. SRC holds common law trademark rights in the SWEET SWEAT®
11 mark, the Sweat Drop Logo, and the Sweet Sweat Trade Dress.
12        146. Defendants’ use of the Sculpt Sweat mark and the infringing packaging
13 in connection with the distribution, marketing, and sale of Defendants’ Sculpt Sweat
14 Product is likely to cause confusion, deception, and mistake among, consumers, the
15 public, and the trade as to whether Defendants’ products originate from, or are
16 endorsed by, SRC.
17        147. Defendants’ conduct constitutes unfair competition in violation of Bus. &
18 Prof. Code §§ 17200 et seq.
19        148. Defendants’ conduct is causing, and is likely to continue causing, injury
20 to public and to SRC.
21        149. SRC has no adequate remedy at law. If Defendants’ activities are not
22 enjoined SRC will continue to suffer irreparable harm and injury to its goodwill and
23 reputation.
24        150. Defendants have been unjustly enriched by their infringing conduct.
25
26                            EIGHTH CAUSE OF ACTION
27               (Civil Conspiracy Against All Defendants and DOES 1-100)
28

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 1        151. SRC incorporates by reference and realleges the allegations set forth in
 2 paragraph 1 through 150 above as if fully set forth herein.
 3        152. SRC alleges that Defendants formed a plan to directly compete against
 4 SRC by utilizing SRC Contact Information and SWEET SWEAT® UPC in
 5 conjunction with its infringing Sculpt Sweat mark on its infringing packaging.
 6        153. Defendants all agreed to the plan and were each aware that each other
 7 planned to participate in the plan and that the plan was unlawful and fraudulent.
 8        154. As a result of the conspiracy, SRC has been harmed because, among
 9 other things, Defendants have derived certain direct and indirect benefits and profits
10 from their unlawful distribution, marketing, and sale of products in the infringing
11 packaging, all at SRC’s economic and reputational expense.
12        155. SRC is informed and believes, and based thereon alleges, that
13 Defendants’ activities described above have been willful, wanton, and in deliberate
14 disregard of SRC’s rights.
15
16                              NINTH CAUSE OF ACTION
17               (For Accounting Against All Defendants and DOES 1-100)
18        156. SRC incorporates by reference and realleges the allegations set forth in
19 paragraph 1 through 154 above as if fully set forth herein.
20        157. SRC is not aware and cannot ascertain without an accounting the full
21 amounts Defendants profited from the use of the Sculpt Sweat mark and sales of the
22 Sculpt Sweat Product as a direct and proximate result of Defendants’ unlawful
23 conduct.
24        158. Accordingly, SRC is entitled to a formal opening of the books and
25 accounting, including but not limited to, all profits made from the use of the Sculpt
26 Sweat mark and sales of the Sculpt Sweat Product as a direct and proximate result of
27 Defendants’ unlawful conduct. Such an accounting is necessary to determine monies
28 due to SRC.

                                              36
                                          COMPLAINT
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 1                                 PRAYER FOR RELIEF
 2         WHEREFORE, SRC prays for judgment against Defendants as follows:
 3         1.    That Defendants and their officers, members, directors, agents, servants,
 4 employees, representatives, and all persons acting in concert or participation with
 5 them, be permanently enjoined from:
 6               a.     Marketing and selling the Sculpt Sweat Product or any other
 7 workout enhancer products in infringing packaging;
 8               b.     Using the Sweet Sweat Trade Dress or any confusingly similar
 9 trade dress on or in connection with workout enhancer products;
10               c.     Using the Sculpt Sweat mark on or in connection with workout
11 enhancer products;
12               d.     Using any false designation of origin, or representing or suggesting
13 directly or by implication that Defendants or their products are affiliated with,
14 associated with, authorized by, or otherwise connected to SRC; that Defendants are
15 authorized by SRC to use the Sweet Sweat Trade Dress or trademarks confusingly
16 similar to the SWEET SWEAT® mark; or that Defendants’ products originate with
17 SRC or are brand variants or line extensions of SRC’s workout enhancer products;
18               e.     Using any simulation, reproduction, copy, or colorable imitation of
19 the Sweet Sweat Trade Dress in connection with the promotion, advertisement,
20 display, sale, offering for sale, manufacture, production, circulation, or distribution of
21 any product or service in such a manner as to relate or connect, or tend to relate or
22 connect, such product in any way to SRC or any products or services sold,
23 manufactured, sponsored, or approved by or connected with SRC;
24               f.     Engaging in any other activity constituting unfair competition with
25 SRC, or constituting infringement of the SWEET SWEAT® trademark or the Sweet
26 Sweat Trade Dress; and
27               g.     Instructing, assisting, aiding, or abetting any other person or
28 business entity in engaging in or performing any of the activities referred to in

                                                37
                                           COMPLAINT
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 1 subparagraphs (a) through (f) above.
 2
 3         2.     That Defendants be required to recall from the trade and all distribution
 4 channels any and all products, packaging, advertising, and promotional materials
 5 bearing or incorporating the Sweet Sweat Trade Dress, the Sculpt Sweat trademark, or
 6 any other mark, design, or configuration that is confusingly similar to the SWEET
 7 SWEAT® trademark or the Sweet Sweat Trade Dress, including but not limited to any
 8 and all workout enhancer products packaged in infringing packaging, and any
 9 advertising and promotional materials depicting the infringing packaging.
10
11         3.     That Defendants be required to deliver to the Court for destruction, or
12 show proof of destruction of, any and all products, packaging, advertising, and
13 promotional materials in Defendants’ possession or control that use the Sweet Sweat
14 Trade Dress, the Sculpt Sweat trademark, or any other mark, design, or configuration
15 that is confusingly similar to the SWEET SWEAT® trademark, the Sweet Sweat
16 Trade Dress, including but not limited to the infringing packaging, and any
17 advertising and promotional materials depicting the infringing packaging.
18
           4.     That Defendants be required to undertake corrective advertising to
19
     remedy the damage and injury to SRC caused by Defendants’ unlawful infringing of
20
     SRC’s trademarks and trade dress.
21
22
           5.     That Defendants be directed to file with the Court and serve on SRC,
23
     within thirty (30) days after entry of a final injunction, a report in writing under oath
24
     setting forth in detail the manner and form in which Defendants have complied with
25
     the injunction.
26
27         6.     That Defendants account for and pay over to SRC all profits realized by
28 Defendants as a direct and proximate result of Defendants’ unlawful conduct.

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                                             COMPLAINT
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 1
           7.      That SRC recover its actual damages.
 2
 3
           8.      That the Court award enhanced profits and treble damages.
 4
 5         9.      That SRC be awarded statutory damages.
 6
 7
           10.     That SRC be awarded punitive damages to deter any future violations of

 8
     SRC’s rights.

 9
           11.     That SRC be awarded interest, including pre-judgment and post-
10
     judgment interest, on the foregoing sums.
11
12         12.     That the Court deem this to be an exceptional case, and that the Court
13 order Defendants to pay SRC the costs of this action and SRC’s reasonable attorneys’
14 fees and expenses under 15 U.S.C. §§ 1116 and 1117.
15
16
           13.     That the Court direct such other actions as the Court may deem just and

17
     proper to prevent the public from deriving the mistaken impression that any products

18
     or services offered, advertised, or promoted by or on behalf of Defendants are

19
     authorized by SRC or related in any way to SRC’s products or services.

20
           14.     That SRC has such other and further relief as the Court may deem just
21
     and proper.
22
23                                      JURY DEMAND
24         SRC requests a jury trial.
25
26
27
28

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                                            COMPLAINT
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1 DATED: March 5, 2020
2                             GARCIA RAINEY BLANK & BOWERBANK LLP
3
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